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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                       )   MDL No. 16-2740
PRODUCTS LIABILITY                                )
LITIGATION                                        )   SECTION: “H” (5)
                                                  )
This document relates to:                         )
Barbara Earnest, 16-17144                         )


                               ORDER AND REASONS
       Before the Court are three Motions filed by Defendants Sanofi-Aventis
U.S. LLC and Sanofi U.S. Services, Inc. (collectively, “Sanofi” or “Defendants”).
The Motions are a Motion to Exclude Expert Testimony on General Causation
(Doc. 6163); a Motion to Exclude Expert Testimony of David Madigan, PhD
(Doc. 6144); and a Motion to Exclude Expert Testimony of Ellen Feigal, M.D.
(Doc. 6149). On July 25, 2019, the Court heard oral argument on two of these
Motions—the Motion to Exclude Expert Testimony on General Causation and
the Motion to Exclude Expert Testimony of David Madigan. For the following
reasons, the Motion to Exclude Expert Testimony on General Causation (Doc.
6163) and the Motion to Exclude Expert Testimony of David Madigan, PhD
(Doc. 6144) are DENIED. The Motion to Exclude Expert Testimony of Ellen
Feigal, M.D. (Doc. 6149) is GRANTED IN PART and DENIED IN PART.


                                    BACKGROUND
       Plaintiffs in this multidistrict litigation (“MDL”) are suing several
pharmaceutical        companies      that     manufactured   and/or   distributed   a
chemotherapy drug, Taxotere or docetaxel, 1 that Plaintiffs were administered
for the treatment of breast cancer or other forms of cancer. Plaintiffs allege


1 Docetaxel is the generic version of Taxotere.
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that the drug caused permanent alopecia—in other words, permanent hair
loss. Plaintiffs bring claims of failure to warn, negligent misrepresentation,
fraudulent misrepresentation, and more. The first bellwether trial of Plaintiff
Barbara Earnest (“Plaintiff”) is set to begin September 16, 2019. 2


                                LEGAL STANDARD
       The admissibility of expert testimony is governed by Federal Rule of
Evidence 702, which provides as follows:
       A witness who is qualified as an expert by knowledge, skill,
       experience, training, or education may testify in the form of an
       opinion or otherwise if:
              (a) the expert’s scientific, technical, or other specialized
              knowledge will help the trier of fact to understand the
              evidence or to determine a fact in issue;
              (b) the testimony is based on sufficient facts or data;
              (c) the testimony is the product of reliable principles and
              methods; and
              (d) the expert has reliably applied the principles and
              methods to the facts of the case. 3

       The current version of Rule 702 reflects the Supreme Court’s decisions
in Daubert v. Merrell Dow Pharms., Inc. 4 and Kumho Tire Co. v. Carmichael. 5
The threshold inquiry in determining whether an individual may offer expert
testimony under Rule 702 is whether the individual has the requisite
qualifications. 6 After defining the permissible scope of the expert’s testimony,

2 To the extent Defendants’ Motions relate to Plaintiff Tanya Francis, the Motions are moot,
given the Court’s dismissal of her case. To the extent the Motions relate to Plaintiff
Antoinette Durden, the Court denies the Motions but will permit them to be renewed at a
later date.
3 FED. R. EVID. 702.
4 509 U.S. 579 (1993).
5 526 U.S. 137 (1999).
6 Wagoner v. Exxon Mobil Corp., 813 F. Supp. 2d 771, 799 (E.D. La. 2011); see also Wilson v.

Woods, 163 F.3d 935, 937 (5th Cir. 1999) (“A district court should refuse to allow an expert

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a court next assesses whether the opinions are reliable and relevant. 7 As the
“gatekeeper” of expert testimony, the trial court enjoys broad discretion in
determining admissibility. 8
       First, to assess reliability, a court considers whether the reasoning or
methodology underlying the expert’s testimony is valid. 9 The party offering the
testimony bears the burden of establishing its reliability by a preponderance
of the evidence. 10 Courts should exclude testimony based merely on subjective
belief or unsupported speculation. 11 Courts must, however, give proper
deference to the traditional adversary system and the role of the jury within
that system. 12 “Vigorous cross-examination, presentation of contrary evidence,
and careful instruction on the burden of proof are the traditional and
appropriate means of attacking shaky but admissible evidence.” 13 After
assessing reliability, a court evaluates relevance. 14 In doing so, a court must
determine whether the expert’s reasoning or methodology “fits” the facts of the
case and will thereby assist the trier of fact in understanding the evidence. 15
       Federal Rule of Evidence 703 further provides that an expert may offer
opinions based on otherwise inadmissible facts or data but only if (1) they are
of the kind reasonably relied upon by experts in the particular field; and (2)
the testimony’s probative value substantially outweighs its prejudicial effect. 16



witness to testify if it finds that the witness is not qualified to testify in a particular field or
on a given subject.”).
7 See United States v. Valencia, 600 F.3d 389, 424 (5th Cir. 2010). See also Wellogix, Inc. v.

Accenture, L.L.P., 716 F.3d 867, 881–82 (5th Cir. 2013).
8 Wellogix, 716 F.3d at 881.
9 See Daubert, 509 U.S. at 592–93.
10 See Moore v. Ashland Chem. Inc., 151 F.3d 269, 276 (5th Cir. 1998).
11 See Daubert, 509 U.S. at 590.
12 See id. at 596.
13 Id.
14 Burst v. Shell Oil Co., 120 F. Supp. 3d 547, 551 (E.D. La. June 9, 2015).
15 Id.
16 FED. R. EVID. 703.
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                             LAW AND ANALYSIS
        The three Motions before the Court are related. In the Motion to Exclude
Expert Testimony on General Causation, Sanofi argues that Plaintiff fails to
put forward one expert who conducts both parts of the required two-part test
for demonstrating causation. Sanofi argues that instead Plaintiff improperly
pieces together testimony from two experts—Dr. Madigan and Dr. Feigal. In
this Motion, Sanofi also disputes that these experts are qualified to opine on
causation, and Sanofi further avers that the experts did not use reliable
methodologies in forming their opinions.
        In the Motion to Exclude Expert Testimony of David Madigan,
Defendants argue that the three analyses upon which Dr. Madigan bases his
opinions are unreliable. In the Motion to Exclude Expert Testimony of Ellen
Feigal, Defendants argue that Dr. Feigal is unqualified to render her opinions
and that her opinions are irrelevant and unreliable.


   I.      General Causation
        Defendants argue that Plaintiff is unable to prove general causation with
relevant and reliable expert testimony. The crux of Sanofi’s argument is that
Plaintiff failed to task one expert with addressing both prongs of the general
causation analysis. Sanofi further argues that these experts’ causation
opinions were not adequately disclosed. According to Sanofi, the experts did
not properly articulate their causation opinions in their reports. Sanofi argues
that Dr. Madigan, a statistician, failed to state in his report that Taxotere in
fact causes permanent alopecia. Regarding Dr. Feigal, Sanofi similarly argues
that she failed to state that Taxotere causes permanent alopecia. Lastly, Sanofi
argues that the opinions of each expert are independently unreliable. Because
these arguments overlap with the arguments Sanofi brings in the individual

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motions against these experts, the Court will address these in the following
sections regarding the individual experts.
       To prevail in a pharmaceutical products liability case, a plaintiff must
establish both general and specific causation through reliable expert
testimony. 17 “General causation is whether a substance is capable of causing a
particular injury or condition in the general population, while specific
causation is whether a substance caused a particular individual’s injury.” 18 To
assess whether general causation exists between an agent and a disease, the
case law recognizes a two-prong test. 19 First, there must be evidence showing
a “statistically significant association” between the agent and the disease. 20
Second, once an association is found, researchers assess whether a true causal
relationship underlies the association. 21 Typically, an expert applies the
Bradford Hill criteria to evaluate this second prong. 22 The Bradford Hill
criteria are: (1) temporal relationship; (2) strength of the association; (3) dose-
response relationship; (4) replication of findings; (5) biological plausibility; (6)
consideration of alternative explanations; (7) cessation of exposure; (8)
specificity of the association; and (9) consistency with other knowledge. 23
       Plaintiff relied on Dr. Madigan to identify a statistically significant
association. Plaintiff relied on Dr. Feigal to then analyze the association using

17 See Burst v. Shell Oil Co., No. 14-109, 2015 WL 3755953, at *3 (E.D. La. June 16, 2015);
In re Abilify (Aripiprazole) Prods. Liab. Litig., 299 F. Supp. 3d 1291, 1306 (N.D. Fla. 2018).
18 Knight v. Kirby Inland Marine Inc., 482 F.3d 347, 351 (5th Cir.2007).
19 See Burst, 2015 WL 3755953, at *5 (E.D. La. June 16, 2015); Wagoner, 813 F. Supp. 2d at
803–04.
20 See Wagoner, 813 F. Supp. at 803–04; Burst, 2015 WL 3755953, at *5.
21 See Wagoner, 813 F. Supp. at 803–04; Burst, 2015 WL 3755953, at *5.
22 See Wagoner, 813 F. Supp. at 803–04; Burst, 2015 WL 3755953, at *5. The Bradford Hill
criteria derive from a 1965 lecture by a British epidemiologist and statistician, Sir Austin
Bradford Hill. In re Mirena Ius Levonorgestrel-Related Prods. Liab. Litig. (No. II), 341 F.
Supp. 3d 213, 242 (S.D.N.Y. 2018). In the lecture, he identified nine criteria that can aid
researchers in deciding whether a reported association in an epidemiological study is causal.
Id.
23 Burst, 2015 WL 3755953, at *5.


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the Bradford Hill criteria. Plaintiff, therefore, provides evidence on both prongs
of the causation analysis. Sanofi fails to cite any law stating that the same
expert who identifies the association must also be the one who applies the
Bradford Hill criteria. Accordingly, the Court rejects the notion that the law
requires one expert to conduct the entire causation inquiry. 24
       The Court further rejects Sanofi’s argument that Dr. Madigan is not
qualified to testify regarding the second prong. He does not purport to be an
epidemiologist, nor does he purport to be qualified to testify on the second
prong. Instead, he appropriately limits his opinion to statistics and does not
opine on medical causation. He provides only the statistical analysis, which
serves as a foundation for Dr. Feigal to testify on the second prong. Insofar as
Sanofi argues that Dr. Madigan’s opinions are unreliable because they do not
show causation, the Court rejects the premise that his opinions had to show
causation, as opposed to only a statistically significant association, to be
reliable. The law does not require this. 25 For similar reasons, the Court rejects
Sanofi’s argument that Dr. Feigal is not qualified to testify on the first prong
of the analysis. Dr. Feigal does not purport to be a statistician, and she does
not purport to be qualified to testify on the first prong of the causation analysis.
       The Court further finds that the opinions of these experts were
adequately disclosed. The Court sees no issues with Dr. Madigan’s report,
which plainly demonstrates that he conducted the first prong of the general
causation test. He explains the statistical analysis he conducted and expressly
states that he agrees with Sanofi’s 2015 conclusion that the evidence supports
a causal association between docetaxel and permanent alopecia. Further,


24 See Abilify, 299 F. Supp. 3d at 1312–30, 1361–68 (finding Madigan “amply qualified to
offer biostatistical analysis” of study serving as basis for statistically significant association
while at the same time finding him unqualified to offer opinion on medical causation).
25 See id. (treating analysis of statistical significance as independent from analysis of medical
causation).
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deposition testimony shows that Defendants explored Dr. Madigan’s work and
understood his opinion:
       Q:     What I want to know is, have you independently done the
              work necessary to form an independent opinion that
              [T]axotere causes irreversible alopecia?
       A:     Sure. I believe it does. I believe there is a causal effect
              established here.
       Q:     And the work that you did to establish that [T]axotere causes
              irreversible alopecia includes what elements?
       A:     So the analysis from the randomized trials. So the meta-
              analysis of the randomized trials and the analysis of the
              individual trials, the analysis of the FAERS database and
              my analysis of the internal database.

Dr. Madigan’s report, supplemented by his deposition testimony, leaves no
guesswork for Defendants. The Court therefore rejects Sanofi’s argument that
Dr. Madigan’s opinions were not adequately disclosed.
       The Court similarly finds that Dr. Feigal adequately disclosed her
causation opinion. In the “Conclusions” section of her report, six conclusions
are prominently listed. 26 One of these is:
       Permanent chemotherapy-induced alopecia is a known adverse
       event of Taxotere-containing regimens in the adjuvant treatment
       of women with early stage operable breast cancer (Stages I, IIA,
       IIB, IIIA), as evidenced in the company-sponsored randomized
       controlled clinical trials and in postmarketing surveillance and
       multiple case studies from 2001 to present. 27

Another conclusion states that the “Company’s own analysis of the data led
them to the conclusion that permanent chemotherapy-induced alopecia is
causally related to Taxotere.” 28



26 Doc. 6163-20 at 46–47.
27 Id. at 46.
28 Id.
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         While her report was less than clear on the analysis underlying her
general causation opinion, Sanofi deposed Dr. Feigal for multiple days and
explored this underlying analysis. Dr. Feigal testified that she based her
causation opinion on her review of the TAX 316 and GEICAM 9805 clinical
studies, the pharmacovigilance referenced in Sanofi’s 2015 Clinical Overview,
and case study reports. 29 Dr. Feigal explained how she applied the Bradford
Hill factors in her analysis, further illuminating for Sanofi that her opinion
addressed the second prong of the general causation analysis. 30 Accordingly,
as Plaintiff writes, “there are no surprises here,” and the Court will not find
Dr. Feigal’s testimony inadmissible for what Defendants call an inadequate
disclosure.


   II.      Dr. David Madigan
         Regarding Dr. Madigan, Sanofi first takes issue with his analysis of the
FDA’s adverse event report database (“FAERS”) and his analysis of Sanofi’s
internal databases. Sanofi argues that the key words Dr. Madigan used to
search the databases returned irrelevant results and that Dr. Madigan failed
to evaluate the results to ensure their relevancy. As Sanofi explains in its
briefing, Dr. Madigan searched the FAERS database for case reports that
included all three of the following: (1) “alopecia” as a listed adverse event; (2)
“Taxotere” or “docetaxel” as one of the listed drugs; and (3) “disability or
permanent damage” listed as an outcome. At oral argument, defense counsel
explained that Dr. Madigan had to be creative in choosing these terms. In other


29 Doc. 7513-2 at 28–30, 60.
30 Id. at 91 (pointing to the increased risk in the randomized controlled clinical trials as
support for “dose-response” factor); id. at 93 (explaining what sources she considered for the
“alternative explanations” factor); id. at 95–96 (showing that she considered the
“temporality” factor in observing that her sources were “treatment emergent” and occurred
after treatment); id. at 98 (showing consideration of “replication of findings” factor).
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cases, a search could be run for a specific medical condition. However, because
“permanent alopecia” was not provided as an option on the case reports, Dr.
Madigan could not search for “permanent alopecia” but had to select other
terms that would locate pertinent results. Sanofi raises similar arguments
regarding Dr. Madigan’s search of Sanofi’s internal database, averring that his
search terms were overbroad.
       The Court finds that Dr. Madigan’s methodology passes muster. 31 In his
report, Dr. Madigan makes clear that the statistical analysis he conducted is
accepted in the industry. It is used by drug companies and the FDA. 32 The
limitations Sanofi identifies are not weaknesses in Dr. Madigan’s methodology;
they are limitations beyond his control that he deliberately worked around.
Accordingly, Sanofi’s concerns relate to the weight of Dr. Madigan’s testimony,
not its admissibility, and on cross-examination, Defendants can highlight
these limitations for the jury.
       Regarding Dr. Madigan’s search of Sanofi’s database, Sanofi further
argues that this search was unreliable because Dr. Madigan relied upon
another expert, Dr. Antonella Tosti, to decide the search terms. Sanofi
emphasizes that Dr. Tosti is a dermatologist and not an expert in statistical
analyses. Under Rule 703, however, an expert can rely on the work of another
expert provided that the reliance is reasonable. 33 Sanofi has made no showing
that Dr. Madigan’s collaboration with Dr. Tosti runs afoul of Rule 703.

31 See In re Yasmin & YAZ (Drospirenone) Mktg., Sales Practices & Prod. Liab. Litig., No.
3:09-md-2100, 2011 WL 6302573, at *17 (S.D. Ill. Dec. 16, 2011) (finding Madigan amply
qualified to testify about his examination of FAERS database and the detection of safety
signals; finding other experts similarly qualified, including one epidemiologist who
considered data “on an aggregate scale, not on an individual scale”).
32 See Doc. 6144-1 at 6–7.
33 See Tajonera v. Black Elk Energy Offshore Operations, LLC, No. 13-366, 2016 WL
3180776, at *10 (E.D. La. June 7, 2016) (“Federal Rule of Evidence 703 allows experts to base
their opinions on facts or data that the expert has been made aware of or personally observed,
which includes the efforts of other experts, provided that experts in the particular field would

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       Sanofi next takes issue with Dr. Madigan’s statistical analysis of Sanofi’s
clinical studies, TAX 316 and GEICAM 9805. Sanofi avers that Dr. Madigan’s
analysis of the studies is irrelevant because the studies evaluated “ongoing
alopecia” not “permanent alopecia.” Sanofi suggests that some of the patients
who were reported as having “ongoing alopecia” during the follow-up period of
the study may have since had their hair regrow. The Court finds that this
distinction does not make Dr. Madigan’s analysis irrelevant but instead only
less persuasive. Accordingly, this is a criticism that Sanofi can highlight for
the jury on cross-examination.
       Sanofi further argues that Dr. Madigan relied on a flawed methodology
in analyzing the two studies. Sanofi emphasizes that the results of each study
individually produced no statistically significant results. Sanofi argues that
Dr. Madigan cannot now combine the results of the studies to achieve
statistical significance. The Court rejects Sanofi’s argument and finds that
Sanofi’s concern goes to the weight of Dr. Madigan’s testimony, not to its
admissibility. 34
       Finally, Sanofi takes issue with Dr. Madigan’s opinion that a safety
signal emerged “several years earlier” than 2015. As Sanofi explains, a “safety
signal” is “a concern about an excess of adverse events compared to what would
be expected to be associated with a product’s use.” 35 Sanofi argues that Dr.
Madigan’s opinion is vague and unhelpful to the jury. The Court disagrees. Dr.
Madigan’s report shows that he was more precise in his analysis than Sanofi



reasonably rely on those kinds of facts or data in forming an opinion on the subject.”) (internal
citations omitted).
34 See Milward v. Acuity Specialty Prods. Grp., Inc., 639 F.3d 11, 17–22 (1st Cir. 2011)
(reversing district court ruling and allowing expert to draw conclusions based on combination
of studies, finding that alleged flaws identified by district court go to weight of testimony not
admissibility).
35 Doc. 6144 at 4 (quoting FDA materials).


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admits. He pointed to safety signals that emerged in 2000 and 2008. 36 He need
not pinpoint the exact date by which Sanofi should have identified a safety
signal for his opinion to be helpful to the jury.


   III.   Dr. Ellen Feigal
       In its Motion to Exclude Expert Testimony on General Causation, Sanofi
argues that Dr. Feigal improperly relied on Sanofi’s “2015 Clinical Overview,”
cherry-picked literature, and Sanofi’s clinical studies. The Court will address
each argument in turn.
       The “2015 Clinical Overview” was a report Sanofi created for the FDA in
which Sanofi assessed the adverse event reports it had accumulated in its
pharmacovigilance database. The Court does not find Dr. Feigal’s reliance on
the 2015 Clinical Overview improper. This was not the main foundation of Dr.
Feigal’s opinions as Sanofi suggests. This informed her analysis and provided
insight—given that the report included information that was only available to
Sanofi—but Sanofi fails to show that she placed undue reliance on the report.
Sanofi further avers that Dr. Feigal’s analysis of the report was only her
“personal interpretation” of it, suggesting that understanding the report
requires context. Given Dr. Feigal’s experience and her consideration of
numerous sources in forming her opinions about Taxotere, the Court sees no
issues with Dr. Feigal’s consideration the Sanofi’s “2015 Clinical Overview.” If
the document makes more sense with context, Defendants can ensure that the
jury has this context when Defendants cross-examine Dr. Feigal.
       Regarding the argument that Dr. Feigal cherry-picked her sources,
Sanofi states that Dr. Feigal testified that she used her personal judgment in
deciding what articles to review and include in her analysis. The Court


36 See Doc. 7469 at 12.
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disagrees with Sanofi’s characterization of this as cherry-picking. Dr. Feigal
appropriately focused her research, using relevant search terms and carefully
considering the results of her searches. To support their argument, Defendants
rely on Konrick v. Exxon Mobil Corporation, 37 and the Court finds this reliance
misplaced. In Konrick, the court held that the experts mischaracterized the
studies they cited. 38 The Konrick court wrote that a certain expert “cherry-
picked data from studies that do not otherwise support his conclusion, reached
conclusions that the authors of the study did not make, and failed to explain
contrary results.” 39 That is not what happened here. Defendants make no
showing that Dr. Feigal mischaracterized the contents of her sources. Instead,
what Defendants attack is simply Dr. Feigal’s effort to reasonably limit the
scope of her research.
       Regarding Sanofi’s clinical studies, Sanofi raises the same argument
against Dr. Feigal that it did against Dr. Madigan—that the studies evaluated
“ongoing alopecia” not “permanent alopecia.” For the same reasons the Court
rejected this argument as to Dr. Madigan, the Court rejects it as to Dr. Feigal.
       Sanofi further argues that Dr. Feigal’s report “makes no mention” of the
Bradford Hill criteria. 40 Sanofi also specifically avers that her assessment is
not tied to the question of whether Taxotere, as opposed to another
chemotherapy agent, can cause permanent alopecia. First, the Court rejects
the notion that an expert must follow “a checklist analysis of the Bradford Hill
factors.” 41 Instead, as epidemiologists and courts have recognized, the factors

37 No. 14-524, 2016 WL 439361 (E.D. La. Feb. 4, 2016).
38 See id. at *7, *13.
39 Id. at *7.
40 Doc. 6163 at 28.
41 See In re Testosterone Replacement Therapy Prods. Liab. Litig. Coordinated Pretrial
Proceedings, No. 14-C-1748, 2017 WL 1833173, at *9 (N.D. Ill. May 8, 2017) (accepting
plaintiffs’ argument that causation opinion need not follow “checklist analysis of the Bradford
Hill factors”).

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are guidelines. 42 A causation opinion, therefore, need not address each one. 43
To the extent an expert cannot articulate support for a particular factor, this
goes to the weight of the expert’s opinion, not its admissibility. 44
        Dr. Feigal sufficiently addresses the Bradford Hill factors in her report.
For example, she addresses the “temporal relationship” factor throughout her
report. As one court explained, this factor can be summarized as followed: “A
cause must precede its effect. Strength in temporality, such as when a cause
immediately precedes its effect, supports an inference of causation.” 45 In her
report, Dr. Feigal discusses case studies that reported persistent hair loss
occurring after a cancer patient’s treatment with Taxotere. In discussing the
Sedlacek study, she writes as follows: “Persistent significant alopecia, defined
as <50% hair regrowth at least one year after chemotherapy, developed in
7/112    (6.3%)     women      with     localized    breast     cancer     treated    with     a
Taxotere/docetaxel containing regimen.” 46 In discussing the Masidonski and
Mahon study, she writes as follows: “Over the past 10 years, 13 women treated
for breast cancer at their institution have been identified with permanent
alopecia, and 11/13 had been treated with a Taxotere/docetaxel-based regimen
with an anthracycline and cyclophosphamide, and the other 2 with an
anthracycline and cyclophosphamide.” 47 Dr. Feigal’s discussion of these


42 See Wagoner, 813 F. Supp. 2d at 803–04; Testosterone Replacement Therapy, 2017 WL
1833173, at *11.
43 Wagoner, 813 F. Supp. 2d at 803–04 (“[E]pidemiologists have recognized that . . . ‘each
factor   need not be           fulfilled in order for a researcher to proclaim
causation.’ . . . Unsurprisingly, then, courts have held that an expert’s ‘failure to satisfy the
Bradford Hill criteria does not necessarily compel exclusion of an opinion as unreliable.’”)
(quoting In re Neurontin Mktg., Sales Practices, & Prods. Liab. Litig., 612 F. Supp. 116, 133
(D. Mass. 2009) and In re Viagra Prods. Liab. Litig., 658 F. Supp. 2d 936, 946 (D. Minn.
2009)); Testosterone Replacement Therapy, 2017 WL 1833173, at *11 (finding that causation
opinion need not address each Bradford Hill factor).
44 See Wagoner, 813 F. Supp. 2d at 804.
45 Davis v. McKesson Corp., No. 18-1157, 2019 WL 3532179, at *32 (D. Ariz. Aug. 2, 2019).
46 Doc. 6163-20 at 42.
47 Id.
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studies shows the cause (Taxotere treatment) preceding the effect (permanent
hair loss). This supports an inference of causation under this factor.
      As Dr. Feigal suggests in her deposition, however, this factor is
somewhat amorphous in this case. She testified as follow:
      There may also be some variability in the timing of recognition of
      the permanent hair loss and I think you can find, you know,
      probably from our -- certainly from my reading, everybody has got
      a different definition for permanency.

      Some it’s six months. Some it’s two years. Obviously, that affects
      the denominator of the people you are calling have permanent
      alopecia. 48

Accordingly, the “effect” in this case is more difficult to identify than in cases
involving an easily recognizable injury. Especially given this limitation, Dr.
Feigal’s consideration of this factor suffices.
      Dr. Feigal also addresses the “biological plausibility” factor. As courts
have explained, “[t]he concept of biological plausibility . . . asks whether the
hypothesized causal link is credible in light of what is known from science and
medicine about the human body and the potentially offending agent.” 49 In her
report, Dr. Feigal writes as follows:
      Permanent, irreversible hair loss due to chemotherapy (PCIA) is
      thought to be likely a result of the hair follicle being permanently
      damaged, and the hair density is markedly reduced. This is
      thought to be likely due to irreversible damage of the stem cells. 50

Dr. Feigal further explains her consideration of this factor in her deposition:
      Q:     Do you have an opinion as to how Taxotere causes
             permanent alopecia?

      A:     Well, I think it’s well-known that Taxotere is a cytotoxic
             chemotherapy agent that can attack the hair in two different

48 Doc. 7513-2 at 24.
49 Milward, 639 F.3d at 25; Testosterone Replacement Therapy, 2017 WL 1833173, at *11.
50 Doc. 6163-20 at 37.
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        ways. It’s a systemic drug, so it circulates all throughout the
        body.

        Because you have blood vessels in the scalp, the scalp gets
        exposed. The hair follicles get exposed to the drug. It is
        known there’s two ways that this chemotherapy can lead to
        hair loss.

        It can attack during the growth phase of the hair, but it can
        also cause thinning of the hair shaft during the telogen
        phase and so it breaks off and you only get these little baby
        hairs. That is what’s thought in terms of permanent
        alopecia.

        And I have experience with stem cells in another part of the
        type of work I do, is that cells in your body have what’s called
        stem cells that can renew and replicate. The thought is that
        it may be poisoning the stem cells so that once that hair is
        lost, it’s lost. You don’t have a renewal capability.

        So that’s -- would be one of the proposed mechanisms of how
        it could lead to permanent hair loss. The mechanism of
        reversible alopecia is very well-known.

   Q:   Okay. The mechanism of what you call irreversible alopecia
        would you agree is not well-known?

   A:   I could say it’s -- I’m probably not the right expert to
        comment on the causation of alopecia, I think. You asked me
        what I think in terms of the mechanism of action and I
        proposed what people are evaluating it.

   Q:   But do you have an opinion as to the mechanism of action as
        to how Taxotere causes permanent hair loss?

        ....

   A:   I have an opinion based on my knowledge of how stem cells
        work and based on my knowledge of how stem cells work in
        the human body and I have an opinion based on the fact that
        this is a systemic chemotherapy that is circulating to the
        scalp.

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             So my opinion is that it’s probably somehow attacking the
             stem cell and irreversibly either damaging it, destroying it
             or perhaps interfering with its signaling pathway so that it
             can’t do what it needs to do.

      Q:     Has that mechanism of action been scientifically proven?

      A:     Not to my knowledge.

      Q:     So you would agree that the mechanism of action that
             supports your opinion is theoretical?

      A:     I think there’s very strong biologic plausibility based on
             Taxotere’s ability to kill hair follicles that it wouldn’t take --
             it does not take a stretch to think that there might be an
             ability to attack the stem cell and somehow interfere with
             signaling or kill it.

             Is it proven? No. 51

Dr. Feigal’s report, bolstered by her deposition testimony, sufficiently shows
her consideration of the “biological plausibility” factor.
      Dr. Feigal also considers the “dose-response relationship” factor. As one
court explained, this factor can be summarized as follows: “Causation is more
likely if greater amounts of the putative cause are associate with corresponding
increases in the occurrence of disease or harm.” 52 In her report, in discussing
the Martin study, Dr. Feigal notes that “PCIA occurred in 36 (10%) of 358
patients with Taxotere/docetaxel regimens reaching cumulative doses of > 400
mg/m² but not in 59 patients receiving lower cumulative doses (300 mg/m²) of
Taxotere/docetaxel (e.g., dose response).” 53 In her deposition, Dr. Feigal
further commented on dose response. In reviewing a certain study, she said, “I
think this was a dose about 75 milligrams per meter squared is what my


51 Doc. 7513-2 at 20–22.
52 Davis, 2019 WL 3532179, at *32.
53 Doc. 6163-20 at 45.


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memory is serving me and at 100 milligrams per meter squared, they got more
exposure, more alopecia.” 54 She further stated, “I’m not going to give you the
definitive dose because the studies are different and that can happen. You
know, not every study is identical with when the observations are seen what
dose. I think the pertinent point is that there was a dose response.” 55 This
shows Dr. Feigal’s consideration of the “dose-response relationship” factor.
       Finally, Dr. Feigal also considers the “alternative explanations” factor.
In discussing the Sedlacek study, for example, Dr. Feigal notes that while 7 of
112 women who were treated with a Taxotere/docetaxel-containing regimen
suffered persistent significant alopecia, none of the 126 patients treated with
a Taxol/paclitaxel-containing regimen, nor any of the 285 patients treated with
doxorubicin without a taxane, suffered persistent alopecia. 56 Dr. Feigal makes
similar observations in discussing the Palamaras study and the Martin
study. 57 The Court therefore rejects Sanofi’s argument that Dr. Feigal failed to
consider whether another chemotherapy agent causes permanent alopecia.
       Sanofi raises additional arguments in its Motion to Exclude Expert
Testimony of Ellen Feigal. Sanofi first argues that Dr. Feigal is not qualified
to opine on the “informed consent” discussion between an oncologist and his or
her patient. Sanofi avers that Dr. Feigal has not treated a breast cancer patient
in 28 years, and she has never counseled a breast cancer patient on the risks
and benefits of Taxotere. The Court rejects the notion that Dr. Feigal is
unqualified. Dr. Feigal has worked for pharmaceutical companies, and she has
worked for the National Cancer Institute. She has given presentations and




54 Doc. 7513-2 at 14.
55 Id. at 15.
56 Doc. 6163-20 at 42.
57 Id. at 43, 45.
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taught college courses that cover the topic of “informed consent.” Dr. Feigal has
more than enough experience to render her qualified.
       Sanofi next argues that Dr. Feigal’s general “informed consent” opinions
are irrelevant and will be unhelpful to the jury. This argument is grounded in
the learned intermediary doctrine, which provides that a manufacturer has no
duty to warn a plaintiff but instead only a duty to warn the treating physician.
Defendants assert that the learned intermediary doctrine turns on the
testimony of a plaintiff’s prescribing physician, not the testimony of a retained
expert speculating about the decision-making process. Defendants argue that
the jury, therefore, must hear from the prescribing physician and the patient.
Based on such testimony, the jury can make inferences about whether an
inadequate label caused Plaintiff’s injury or whether she would have taken
Taxotere regardless of whether Defendants warned of the risk of permanent
hair loss associated with the drug. In response, Plaintiff avers that Dr. Feigal’s
opinions provide insight on how a reasonable physician should have navigated
the decision-making process with her patient. Plaintiff argues that under the
learned intermediary doctrine, subjective or objective evidence is appropriate.
       Because Plaintiff’s treating physician, Dr. James Carinder, is available
to testify, Dr. Feigal will not be allowed to opine on the facts of Earnest’s case.
Dr. Carinder can testify about how he would have responded to an adequate
warning from Defendants. 58 Dr. Feigal, therefore, can testify about the
standard of care for physicians for informing patients through the decision-
making process; she cannot, however, testify about the application of these
principles to Earnest’s case. Similarly, Dr. Feigal can offer general opinions on
how pharmaceutical companies disseminate risk information and what



58 The Court makes no finding as to the admissibility of this evidence in a case where the
treating physician is unavailable.
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alternative treatments exist for Taxotere patients, but Dr. Feigal cannot offer
specific opinions on these topics as they relate to Plaintiff Earnest’s case.


                                CONCLUSION
      For the foregoing reasons, IT IS ORDERED that Sanofi’s Motion to
Exclude Expert Testimony on General Causation (Doc. 6163) and Motion to
Exclude Expert Testimony of David Madigan, PhD (Doc. 6144) are DENIED.
Sanofi’s Motion to Exclude Expert Testimony of Ellen Feigal, M.D. (Doc. 6149)
is GRANTED IN PART and DENIED IN PART.


      New Orleans, Louisiana this 23rd day of August, 2019.



                                         JANE TRICHE MILAZZO
                                         UNITED STATES DISTRICT JUDGE




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